Case 7:16-cv-00141-WLS Documenti-1 Filed 08/17/16 Pagelof1
IS 44 (Rev. 07/16) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
L6wrPes, Cg ~Cote
(b) County of Residence of First Listed Plaintiff low. At DES County of Residence of First Listed Defendant Du VAL Co . Fl
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
_—OKVENE KANG, 2.0. Bays B68
Ariasy ce E27) ¥36-05t4

Hi. BASIS OF JURISDICTION (Piace an “X” in One Box Only) IH. CITIZENSHIP OF PRINCIPAL PARTI ES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State a 1 1 1. Incorporated or Principal Place a4 04
of Business In This State
O2 US. Government 1 4 Diversity Citizen of Another State a2 ot 2 Incorporated and Principal Place 35 a5
Defendant (Indicate Citizenship of Parties in Item II] of Business In Another State
Citizen or Subject of a O03 © 3. Foreign Nation 36 6
Foreign Country

IV. NA

One Box Only)
oo

PERSONAL INJURY PERSONAL INJURY

TURE OF SUIT (Place an “X”

3

1 625 Drug Related Seizure (3 422 Appeal 28 USC 158

© 110 Insurance 3 375 False Claims Act
1 120 Marine © 310 Airplane (1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal F 376 Qui Tam (31 USC
( 130 Miller Act 0 315 Airplane Product Product Liability (1 690 Other 28 USC 157 3729(a))
(J 140 Negotiable Instrument Liability (1 367 Health Care/ J 400 State Reapportionment
(1 150 Recovery of Overpayment | (J 320 Assault, Libel & Pharmaceutical ; PRD L 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights © 430 Banks and Banking
151 Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent 1 450 Commerce
0 152 Recovery of Defaulted Liability 1 368 Asbestos Personal © 840 Trademark 1 460 Deportation
Student Loans 0 340 Marine Injury Product J 470 Racketeer Influenced and
(Excludes Veterans) (7 345 Marine Product Liability i I Ro os A : Corrupt Organizations
C1 153 Recovery of Overpayment Liability PERSONAL PROPERTY | (3 710 Fair Labor Standards © #861 HIA (1395ff) 1 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle O 370 Other Fraud Act O 862 Black Lung (923) |) 490 Cable/Sat TV
© 160 Stockholders’ Suits 1 355 Motor Vehicle © 371 Truth in Lending 0 720 Labor/Management Cl 863 DIWC/DIW'W (405(g)) | 4 850 Securities‘Commodities/
0 190 Other Contract Product Liability J 380 Other Personal Relations 0 864 SSID Title XVI Exchange
(9 195 Contract Product Liability 360 Other Personal Property Damage 0 740 Railway Labor Act ( 865 RSI (405(g)) 71 890 Other Statutory Actions
0 196 Franchise 4 Injury © 385 Property Damage J 751 Family and Medical J 891 Agricultural Acts
1 362 Personal Injury - Product Liability Leave Act 893 Environmental Matters
Medical Malpractice © 790 Other Labor Litigation “I 895 Freedom of Information

]0 791 Employee Retirement Act

(3 210 Land Condemnation G 440 Other Civil Rights Habeas Corpus: Income Security Act 7 870 Taxes (US. Plaintiff 71 896 Arbitration
(J 220 Foreclosure © 441 Voting 0 463 Alien Detainee or Defendant) 11 899 Administrative Procedure
6 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate (0 871 IRS—Third Party Act/Review or Appeal of
O) 240 Torts to Land CO 443 Housing/ Sentence 26 USC 7609 Agency Decision
3 245 Tort Product Liability Accommodations 17 530 General J 950 Constitutionality of
(1 290 All Other Real Property (1 445 Amer. w/Disabilities -| (1 535 Death Penalty ro EMMEEGRATION State Statutes
Employment Other: (0 462 Naturalization Application
(3 446 Amer. w/Disabilities -] 0 540 Mandamus & Other | (© 465 Other Immigration
Other 0 550 Civil Rights Actions
0 448 Education (0 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
pi Original 192 Removed from 1 3 Remanded from (1 4 Reinstated or (© 5 Transferred from © 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the are Statute under which you are filing (Do aot cite jurisdictional unless diversjy),
#164195 RUST |B 5
rief description of cause:

IDriice Missaenoacy

VI. CAUSE OF ACTION

VII. REQUESTEDIN O07 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Jes _ No
VIII. RELATED CASE(S) see i

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DATE c SIGNATURE OF ATTORNES OF RECORD
Lf “f] “Llo wo :*Y

FOR OFFICE USE ONLY CW

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
